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UNITED STATES DISTRICT COURT
ALBUQUERQUE, NEW MEXICO ©
UNITED STATES DISTRICT COURT od
FOR THE DISTRICT OF NEW MEX¥CO-— JUN 24.2019 ¢*

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MITCHELL R. ELFERS

UNITED STATES OF AMERICA, e,. CLERK ..)p
Plaintiff, )
v. ) CaseNo. 18 CR O45 Sa?
JAMES E. BALDINGER, |
Defendant. Violations: 18 US.C. § 242
THE UNITED STATES CHARGES:
INFORMATION
At all times relevant to this Information:
1. Defendant James E. Baldinger was employed as a transport officer for Prison

Transportation Services of America, LLC (PTS), a private prisoner transport
company that contracts with government agencies to transport individuals arrested
on out-of-state warrants.

2. As a transport officer working for PTS, Defendant James E. Baldinger was
required to act in compliance with federal, state and local laws, including the
United States Constitution.

3. During the course of his duties, Defendant James E. Baldinger transported
B.A.W., a female in his custody, on an out-of-state warrant from Kentucky to

Bernalillo County, New Mexico.

 
 

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4. Paragraphs 1 through 3 are hereby incorporated by reference into the count set

forth below.

COUNT ONE

On or about July 11 through July 12, 2017, in the District of New Mexico, defendant,

James E. Baldinger

while acting under the color of law, engaged in sexual contact with B.A.W. without her consent,

thereby willfully depriving B.A.W. of liberty without due process of law, which includes the

right to bodily integrity, a right secured and protected by the Constitution and laws of the United

States. The defendant’s conduct resulted in bodily injury to B.A.W.

In violation of Title 18, United States Code, Section 242.

JOHN C. ANDERSON
United States Attorney

 

SHAHBEN TORGOLEY
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